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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    JEROME PRICE, #282400
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
5    Attorney for Defendant
     ASHLEY STARLING THOMAS
6
7                                IN THE UNITED STATES DISTRICT COURT
8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                       )   Case No. 1:14-cr-228 LJO-SKO
10                                                   )
                    Plaintiff,                       )   STIPULATION AND ORDER TO CONTINUE
11                                                   )   STATUS CONFERENCE, AND TO EXCLUDE
           vs.                                       )   TIME
12                                                   )
     ASHLEY STARLING THOMAS,                         )   Date: June 11, 2018
13                                                   )   Time: 8:30 a.m.
                    Defendant.                       )   Judge: Hon. Lawrence J. O’Neill
14                                                   )
                                                     )
15
            IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
16
     Attorney, through Assistant United States Attorney Grant Rabenn, attorney for Plaintiff, Heather
17
     Williams, Federal Defender, through Assistant Federal Defender Jerome Price, attorneys for
18
     Ashley Thomas, that the status conference scheduled for June 11, 2018 be vacated and be
19
     continued June 25, 2018 at 8:30 a.m.
20
            The grounds for this continuance are that defense counsel would like additional time to
21
     review the discovery that has been produced, to meet and confer with his client, and to
22
     investigate the facts of the case, for effective preparation.
23
            Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
24
     excluded through and including June 25, 2018, pursuant to 18 U.S.C. §3161 (h)(7)(A)and
25
     (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4 based upon defense
26
     preparation.
27
28

      Stipulation and [PROPOSED] Order to Continue        -1-
      Status Conference
     Case 1:14-cr-00228-LJO-SKO Document 437 Filed 06/08/18 Page 2 of 3


1    DATED: June 8, 2018                             Respectfully submitted,
2                                                    HEATHER E. WILLIAMS
3                                                    Federal Defender

4                                                    /s/ Jerome Price
                                                     JEROME PRICE
5                                                    Assistant Federal Defender
                                                     Attorney for ASHLEY STARLING THOMAS
6
7    DATED: June 8, 2018                             MCGREGOR W. SCOTT
                                                     United States Attorney
8
                                                     /s/ Grant Rabenn
9                                                    GRANT RABENN
                                                     Assistant United States Attorney
10
                                                     Attorney for Plaintiff
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      Stipulation and [PROPOSED] Order to Continue     -2-
      Status Conference
     Case 1:14-cr-00228-LJO-SKO Document 437 Filed 06/08/18 Page 3 of 3


1                                                    ORDER
2           IT IS SO ORDERED. The status conference currently scheduled for June 11, 2018, at
3    8:30 a.m. is hereby continued to June 25, 2018, at 8:30 a.m. Pursuant to the agreement of the
4    parties, time is excluded for defense preparation, defense investigation, and plea negotiation
5    purposes. The Court finds that the ends of justice served by taking such action outweigh the best
6    interest of the public and the defendant in a speedy trial.
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8
     IT IS SO ORDERED.
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10      Dated:     June 8, 2018                              /s/ Lawrence J. O’Neill _____
                                                     UNITED STATES CHIEF DISTRICT JUDGE
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      Stipulation and [PROPOSED] Order to Continue    -3-
      Status Conference
